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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------- x
BRIDGET CAPOBIANCO, ALEX LEROY, CHRISTIAN
BATISTA, KHALIFA FALL, MARIO CAMPAZ, MOE TAHAT,
FRANCISCO DIAZ, CHARLES MORRIS, RYAN LEWIS,
ANTHONY CANGEMI, MICHAEL BOSCO, GARY ABRAMS,
JISOO SUN, CLAYTON TAPP, DESTINY PEREZ, ONA KELSAY,
JOSEPH PETILLO, JUSTIN TAGLIAVIA, ARTHUR DUL,
NICHOLAS VITALE, JOHNNY LUZINCOURT, MARGO                                          CLASS ACTION COMPLAINT
WOODLEY, GLENDESHA MACDONALD, JESSICA WILLIAMS,
RYAN PORTER, DESTINY MORENO, JAYQUAN JOHNSON,
DYLAN RICHARDSON, LIONEL ALVAREZ, JURARD ST.
HILLAIRE, KEVON YARD-PROVIDENCE, SIDNEY LOUIS,
TROY DANIELS, REN JEFFREY, PEDERSIN PELISSIER,
HENSWORTH EDWARDS, GREGORY MAUGERI, PAUL                                           Jury Trial Demanded
SIMPSON, and WILLIAM GORMAN, Individually and on Behalf of
a Class of all Others Similarly Situated,
                                                               Plaintiffs,
                                    -against-


THE CITY OF NEW YORK, MAYOR BILL DE BLASIO,
MARCOS GONZALEZ SOLAS, Director of the Mayor’s Office of
Criminal Justice, DERMOT SHEA, Commissioner of the New York
City Police Department, ASSISTANT CHIEF DONNA JONES,
Commanding Officer of the New York City Police Department’s
Criminal Justice Bureau, JANINE GILBERT, Assistant Deputy
Commissioner of the New York City Police Department, LISETTE
CAMILO, Commissioner of the Department of Citywide
Administrative Services, DEPUTY INSPECTOR GARFIELD
MCLEOD, Commanding Officer of Brooklyn Court Section,
CAPTAIN STANLEY GEORGE, Commanding Officer of Bronx
Court Section, CAPTAIN NOEMA IOFFE, Commanding Officer of
Manhattan Court Section, CAPTAIN MICHAEL CORBETT,
Commanding Officer of Queens Court Section, JOHN/JANE DOE 1,
Commanding Officer of Richmond County Court Section
(position presently not filled), JOHN/JANE DOES 2-10
(representing municipal officials responsible for the operation and
conditions of the City of New York’s Central Booking facilities
 but who have not yet been identified by defendants),

                                                               Defendants.
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                                 PRELIMINARY STATEMENT

                1. This is a civil rights class action, brought pursuant to 42 U.S.C. § 1983, in

 which the Plaintiffs, on behalf of themselves and all other similarly-situated persons who were

 detained pre-arraignment in the City of New York’s Central Booking facilities (the “Class”),

 allege that the City of New York and officials and employees of the New York City Police

 Department (“NYPD”), the Department of Citywide Administrative Services (“DCAS”), the

 Mayor’s Office, and other agencies of the City of New York, violated their rights under the Due

 Process Clause of the Fourteenth Amendment to the United States Constitution, during the Class

 Period of February 2020 to the present (“Class Period”), when the Covid-19 pandemic began in

 New York. The defendants subjected Plaintiffs and the Class to inhumane conditions of

 confinement by failing to provide protections from contracting Covid-19 in holding cells, and

 allowing other jail conditions that provide a breeding ground for Covid-19, while the Plaintiffs

 and the Class were pre-arraignment detainees in the City’s Central Booking facilities. The

 NYPD command designation for the Central Booking facilities are known as Court Sections.

                2. Despite a mayoral administration and other governmental officials who are

 fixated on preventing Covid-19 transmission among New York residents, the defendants have

 demonstrated deliberate indifference to preventing individuals they perceive as criminals or

 unworthy from being exposed to or contracting Covid-19. Defendants have also shown a

 disregard as to whether the Plaintiffs and the Class transmit Covid-19 to others.

                3. In the City’s Central Booking facilities, the defendants have a policy, practice

 or custom of not providing detainees with masks; not requiring detainees who enter with their

 own masks to wear them correctly; holding detainees in overcrowded or crowded conditions

 preventing them from being able to socially distance; not enforcing the requirement that staff

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 wear masks; not sanitizing the cells or providing detainees with the ability to wash their hands;

 not taking the temperatures of detainees during admission; not asking new admissions if they

 have Covid-19 symptoms or recently were exposed to the virus; not administering rapid Covid-

 19 tests to those who may have the virus; and not isolating detainees with the virus from other

 detainees. Further, a spokesperson for the municipal agency DCAS recently reported to the news

 media that they tested the air filtration systems in the courts and cell areas, in response to

 complaints from public defender unions, and rated them as “poor.” 1

                  4. On March 11, 2021, the Daily News published an article entitled, “Exclusive:”

 “Cramped holding cells in NYC courthouses omitted from COVID-19 ventilation upgrade;

 ‘They’re like pens that animals are held in.’” The article reported that while the City’s

 courthouses received upgraded, state of the art, air filtration and ventilation systems to address

 the Covid-19 pandemic, the holding cells at the courthouses were omitted from the upgrades.

 Indeed, DCAS reported a “low level” of air filtration in the cells. A lawyer working with

 prisoners observed the sordid state of the cells stating, “They’re like pens that animals are held

 in, in farms. They’re usually packed full of people . . . We’ve gotten reports from [detained]

 people that are scared they’re going to die, and rightfully so.” The article additionally reported

 that NYPD Assistant Deputy Commissioner Janine Gilbert recognized the abysmal conditions




 1
      https://www.nydailynews.com/coronavirus/ny-covid-rally-courthouse-conditions-daily-news-
     investigation-state-courts-20210901-nejw3ytl7jenrmvizy3537u4ae-story.html;
     https://legalaidnyc.org/news/nyc-must-remedy-dangerous-conditions-courthouse-holding-areas/;
     https://www.nydailynews.com/new-york/manhattan/ny-oca-dcas-nypd-doc-holding-cells-filthy-
     court-part-areas-health-risk-covid-20210713-kegid67syzgbvc56stvgc3r7iq-story.html;
     https://legalaidnyc.org/news/disgusting-conditons-nyc-courthouses.

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 and “described cells that hold 150 people, but have only one toilet and no beds. Some cells had

 running water, but none had hand sanitizer.” 2

                  5. The current Mayor, Bill de Blasio, recently erroneously stated to the media

 that he thought the State of New York, not the City, was responsible for maintaining proper court

 and jail conditions. 3

                  6. As a result of the failure of leadership and competence at the top of the chain

 of command, despite knowing the dangerous state of the holding cells in Central Booking,

 numerous court and central booking employees have contracted Covid-19, as well as attorneys,

 detainees, criminal defendants and visitors.

                  7. In addition to the absence of protections from contracting Covid-19,the cells in

 the City’s Central Booking facilities are notoriously filthy and inhumane, which provide a

 breeding ground for viruses like Covid-19. These inhumane conditions have existed for decades

 and have been the subject of several lawsuits.

                  8. In 2013, the plaintiffs in Cano v. City of New York, et al., 13-CV-3341

 (E.D.N.Y.), brought claims challenging the unconstitutional conditions that were present in

 Brooklyn Central Booking (“BCB’) when they were held in the facility on separate dates from

 2010 to 2013. The district court, after discovery, granted the defendants’ motion for summary



 2
      https://www.nydailynews.com/new-york/manhattan/ny-dcas-oca-mocj-doc-no-ventilation-in-
     courthouse-holding-cells-20210312-53jxuttz3na5veup4c7mxgkhya-story.html.
 3
      https://www.nydailynews.com/new-york/manhattan/ny-mayor-de-blasio-nyc-not-responsible-
     filth-courthouses-20210712-75ys2xagsvcgzp7dfgr27tbxsq-story.html;
     https://www.nydailynews.com/new-york/manhattan/ny-state-courthouses-city-filthy-non-
     public-areas-oca-state-legislature-20210720-n2lb36kcw5bmfiudgvqr52qis4-story.html;
     https://legalaidnyc.org/news/de-blasio-unsanitary-courthouse-conditions.


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 judgment. On appeal, under the caption Darnell v. Pineiro, 849 F.3d 17 (2d Cir. 2017), the

 Second Circuit reversed, stating that the “plaintiffs paint a picture of BCB that is alarming and

 appalling” and have “adduced substantial evidence, much of it uncontroverted, that they were

 subjected to appalling conditions of confinement to varying degrees and for various time

 periods.” Id. at 26, 37 (emphasis added).

                9. Despite the language in the Second Circuit’s decision in Darnell, defendants

 have done nothing to improve the conditions in BCB or the other central booking facilities

 during most, or for the duration of the pandemic. The defendants’ practices could have resulted

 in detainees dying from Covid-19 or becoming seriously ill. However, it is not necessary that a

 plaintiff contract Covid to have a viable claim. Creating a risk to health is sufficient. As stated

 by the Second Circuit in Darnell, “to establish a claim for deliberate indifference to conditions of

 confinement under the Due Process Clause of the Fourteenth Amendment, the pretrial detainee

 must prove that the defendant-official acted intentionally to impose the alleged condition, or

 recklessly failed to act with reasonable care to mitigate the risk that the condition posed to the

 pretrial detainee even though the defendant-official knew, or should have known, that the

 condition posed an excessive risk to health or safety.” Id. at 35 (emphasis added); see also

 Jabbar v. Fischer, 683 F.3d 54, 57 (2d Cir. 2012) (“We have held that prisoners may not be

 deprived of their ‘’basic human needs — e.g., food, clothing, shelter, medical care, and

 reasonable safety' — and they may not be exposed ‘to conditions that 'pose an unreasonable risk

 of serious damage to [their] future health.’”) (emphasis added); Willey v. Kirkpatrick, 801 F.3d

 51, 68 (2d Cir. 2015) (“Finally, the district court'’ imposition of a third requirement— that an

 inmate 'claim[] that he suffered sickness or other ill effects" to establish a violation — fares no

 better. Although the seriousness of the harms suffered is relevant to calculating damages and

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 may shed light on the severity of an exposure, serious injury is unequivocally not a necessary

 element of an Eighth Amendment claim.”) (emphasis added).

                  10. Plaintiffs and the Class seek: (1) a declaratory judgment that the conditions of

 confinement in the City’s Central Booking facilities during the Class Period were

 unconstitutional; (2) an injunction requiring defendants to remediate the unconstitutionally

 inhumane conditions; (3) compensatory damages for the injuries caused by defendants’ unlawful

 conduct; (4) punitive damages assessed to deter such intentional or reckless deviations from

 well-settled constitutional law; (5) damages and bonuses for the class representatives; and (6)

 attorney’s fees and costs.

                                     JURISDICTION & VENUE

                  11. This action is brought pursuant to 42 U.S.C. § 1983, the Fourteenth

 Amendment to the United States Constitution and New York state law. Jurisdiction is conferred

 upon this Court by 28 U.S.C. §§ 1331 and 1343.

                  12. Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. §

 1391(b) and (c) because the City of New York and the individual Defendants are located in this

 District and many of the events at issue occurred here, specifically in Brooklyn, Queens and

 Staten Island.

                                             JURY TRIAL

                  13. Pursuant to Fed. R. Civ. P. 38, Plaintiffs demand a jury trial.

                                               PARTIES

                  14. Plaintiffs are residents of the State of New York or other states.

                  15. The City of New York is a municipal corporation organized under the laws of

 the State of New York.

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                16. The City and the municipal officials and employees named as defendants in

 the caption, and others yet to be identified, were responsible for the conditions of confinement in

 the City’s Central Booking facilities and for taking reasonable steps to prevent Covid-19

 transmission when Plaintiffs and the Class were held in the facility. The individual defendants

 acted under color of state law at all relevant times herein. The individual defendants are sued in

 their individual capacities.

                                     CLASS ALLEGATIONS

                17. Plaintiffs seek to represent a class, pursuant to F.R.C.P. 23(b)(2) and (b)(3),

 on behalf of themselves and all other similarly situated individuals, and seek to represent a class

 comprised of all persons who were detained in the City’s Central Booking facilities from

 February 2020 to the date in which defendants are ordered to remedy the unconstitutionally

 inhumane condition in the City’s Central Booking facilities.

                18. Plaintiffs and the Class seek a declaration that the inhumane conditions of

 confinement during the class period were unconstitutional; an order requiring defendants to

 remedy the unconstitutional conditions; compensatory damages for the injuries caused by

 defendants’ unconstitutional conduct; and punitive damages.

                Numerosity

                19. The members of the Class are so numerous — hundreds of thousands of

 individuals — as to render joinder impracticable. Upon information and belief, there have been

 and continue to be hundreds of thousands of persons detained in the City’s Central Booking

 facilities during the Class Period, all of whom are members of the Class, and all whose federal

 constitutional rights have been or will be violated by the policy, practice and/or custom of

 maintaining unconstitutional conditions.

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                Commonality

                20. The questions of law and fact common to the class include whether the class

 members have common rights under the United States Constitution to be free from

 unconstitutional conditions while detained, whether defendants’ conduct in confining the Class

 members under these conditions violated those rights, and whether what took place is or was a

 policy, practice and/or custom of the City of New York and caused by the defendants.

                Adequacy of Representation

                21. Plaintiffs are adequate Class representatives. The violations of law alleged

 by the Plaintiffs stem from the same course of conduct by defendants that violated and continue

 to violate the rights of members of the class. Plaintiffs have the requisite personal interest in the

 outcome of this action and will fairly and adequately protect the interests of the class.

                22. The undersigned attorneys are experienced in class action and civil rights

 litigation and will vigorously prosecute this action and protect the interests of the class. Further,

 counsel has the resources, expertise and experience to prosecute this action, and counsel knows

 of no conflicts among the members of the class.

                Typicality

                23. Plaintiffs are typical of the class they seek to represent. The legal theory

 under which the Plaintiffs seek relief is the same or similar to that on which the Class will rely.

 Further, the harm suffered by the Plaintiffs is typical of the harm suffered by the absent Class

 members.

                Superiority

                24. A class action is superior to other available methods for the fair and efficient

 adjudication of this controversy because (a) the prosecution of thousands of separate actions

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 would be inefficient and wasteful of legal resources; (b) the members of the class may be

 scattered throughout New York State and the tri-state area and are not likely to be able to

 vindicate and enforce their constitutional and statutory rights unless this action is maintained as a

 class action; (c) the issues raised can be more fairly and efficiently resolved in the context of a

 single class action than piecemeal in many separate actions; (d) the resolution of litigation in a

 single forum will avoid the danger and resultant confusion of possible inconsistent

 determinations; and (e) the prosecution of separate actions would create the risk of inconsistent

 or varying adjudications with respect to individuals pursuing claims against defendants which

 would establish incompatible standards of conduct for defendants.

                Predominance of Common Issues

                25. Defendants have acted and will act on grounds applicable to all class

 members, making final declaratory and injunctive relief on behalf of all members necessary and

 appropriate. In addition, questions of law and/or fact common to members of the class especially

 on issues of liability predominate over any questions that affect individual members.

                                     STATEMENT OF FACTS

 A. Background Regarding Conditions in the City’s Central Booking Facilities

                26. The deplorable conditions that exist in the City of New York’s Central

 Booking facilities were the subject of a New York Times article, published March 23, 1990,

 entitled, “Trapped in the Terror of New York’s Holding Pens.” As the Times reported,

        They are the holding pens and precinct house cells where people who have
        been arrested are warehoused - often for two or three days - before they are
        taken to court. Built decades ago for a different New York, they were meant
        to hold people for hours, not days, and they are by all accounts too small for
        the thousands of people now frequently crammed into them each
        week….There are no mattresses, no bedding, no clean clothing and no
        showers. The toilets, where there are toilets at all, are open bowls along the
        walls and often encrusted and overflowing. Meals usually consist of a
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         single slice of baloney and a single slice of American cheese on white
         bread….People who have been through the system say it is not easy to
         forget. Some were threatened by other prisoners. Others were chained to
         people who were vomiting and stinking of the streets. With few phone
         privileges, many felt as if they were lost in a hellish labyrinth far from the
         lives they had been plucked from.

                27. Further, 30 years ago, the City of New York and high-ranking City officials

 were put on notice of the conditions of the City’s Central Booking facilities when, on March 6,

 1990, the Legal Aid Society sent a letter to then-Deputy Mayor Milton Mollen, outlining,

 pursuant to Mollen’s suggestion, the nature of the conditions in the City’s Central Booking

 facilities.

                28. The letter stated, in relevant part, as follows:

         All court detention and central booking facilities are chronically overcrowded.
         There are no established limits for cell population. Some of the cells are less than
         12 by 15 feet, and may be crammed with as many as 25 people. There is rarely
         seating for more than half of the detainees causing arrestees to stand or sit on the
         floor…even though arrestees are held for two or three nights, there are no sleeping
         facilities[,] meaning that people either do not sleep during their detention or must
         try to sleep on a cold, filthy concrete floor with nothing more than a jacket or shirt
         bundled up as a cushion. Often arrestees are crowded together, virtually lying on
         top of each other.

         The toilets are either in full view or partly concealed by low partitions. They are
         often broken or backed up. Occasionally, toilets overflow onto the floor. [The
         cells] are filthy and malodorous … infested with roaches and rats and there is
         usually garbage all over the floor. The odor is so pungent that attending officers
         have been observed burning incense. [The cells are] poorly ventilated, and some
         are not ventilated at all. [The cells in Brooklyn are located in the sub-basement]
         with no provision for ventilation. In hot summer months, long hours spent in a
         stifling, vile-smelling, unventilated holding pen are unbearable. Lighting is dim
         and often non-existent.

         [Once an arrestee reaches a Central Booking facility, the City] provides only
         bologna and cheese sandwiches and only at specified times. Because of the
         cramped conditions of the cells, detainees often have to eat near the open toilet.
         Many detainees, who are in transit when the sandwiches are given out, must endure
         long periods with no food at all.


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          [There is] no medical care in the pens. Prisoners with serious problems may remain
          untreated for several days. Diabetics and AIDS victims may be unable to obtain
          their medicine. Physically sick and psychotic arrestees are thrown in with the
          others and mingle in close proximity for days. Arrestees who request medical
          attention are discouraged from pursuing their requests. [The arrestees are told that
          medical care is] available only at a hospital and will delay their arraignment by a
          day or more. [Only if an arrestee is] insistent or obviously ill, for example, bleeding
          or unconscious, is he or she taken to a hospital.

                 29. The Legal Aid Society’s March 6, 1990 letter was received and reviewed by

 then-Deputy Mayor Mollen and other City officials. Upon information and belief, the municipal

 officials confirmed that the conditions described in the letter did in fact exist.

                 30. The conditions described in the Legal Aid Society’s letter still existed in large

 part when Cano v. City of New York was filed in the Eastern District in 2013.

                 31. The conditions described in the Legal Aid Society’s letter existed in large

 part when Plaintiffs and the Class were held in Central Booking. 4

                 32. In addition to the above, the City of New York and high-ranking City

 officials were put on notice of the inhumane conditions of BCB almost twenty years ago when

 Spinner v. City of New York, et al., 01-CV-2715 (E.D.N.Y.) was filed, which like Cano v. City of

 New York, alleged unconstitutional jail conditions in BCB in violation of the multiple plaintiffs’

 rights under the Due Process Clause. See, e.g., Spinner v. City of New York, et al., 2004 U.S.

 Dist. LEXIS 2541 (E.D.N.Y. Feb. 19, 2004). Moreover, there are pending proposed class

 actions regarding the inhumane conditions of BCB, before the Covid-19 pandemic, being

 prosecuted by the undersigned entitled Brennan, et al., v. City of New York, et al., 19-CV-2054

 (NGG) (CLP) and Aboubakar, et al. v. City of New York, et al., 20-CV-1716 (NGG) (CLP).


 4
     https://abc7ny.com/dirty-courthouses-nyc-court-unsanitary-legal-aid/10882332.



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               33. The Plaintiffs in this case were held for at least several hours in one of the

 City’s Central Booking Facilities at least once on separate dates ranging from February 2020 to

 the present and were subjected to the conditions described above and herein.

               34. Bridget Capobianco was held in BCB on or about July 27, 2020; Alex Leroy

 was held in BCB in February 2021; Khalifa Fall was held in BCB on or about March 11, 2021;

 Mario Campaz was held in BCB in September and October 2020; Moe Tahat was held in BCB

 on or about May 8, 2020 and July 28, 2020; Francisco Diaz was held in BCB on or about

 September 6, 2020; Charles Morris was held in Queens Central Booking (“QCB”) on or about

 May 21, 2021; Ryan Lewis was held in BCB in June 9, 2021 and in Manhattan Central Booking

 (“MCB”) on February 26, 2021; Anthony Cangemi was held in BCB on or about October 8,

 2020; Michael Bosco was held in BCB on or about September 24, 2020, and in Staten Island

 Central Booking (“SICB”) on or about December 15, 2020; Gary Abrams was held in QCB on or

 about September 1, 2020; Clayton Tapp was held in MCB on or about March 15, 2020; Destiny

 Perez was held in BCB on or about June 18, 2021; Ona Kelsay was held in BCB on or about

 May 14, 2020; Jisoo Sun was held in BCB on or about July 29, 2021; Joseph Petillo was held in

 BCB on or about July 23, 2020 and February 24, 2021; Justin Tagliavia was held in BCB on or

 about February 24, 2021; Arthur Dul was held in BCB on or about February 24, 2021; Nicholas

 Vitale was held in BCB in February 5, 2021; Johnny Luzincourt was held in BCB on or about

 November 8, 2020; Margo Woodley was held in BCB on or about July 28, 2020; Glendesha

 MacDonald was held in BCB on or about August 2, 2021; Jessica Williams was held in BCB in

 May 2021 and on or about September 1, 2021; Ryan Porter was held in BCB on or about

 November 13, 2020; Destiny Moreno was held in BCB on or about April 28, 2021; Jayquan

 Johnson was held in BCB on or about September 3, 2020, December 15, 2020 and January 13,

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 2021; Dylan Richardson was held in BCB on or about September 28, 2020, February 25, 2021

 and April 28, 2021; Lionel Alvarez was held in BCB in October 2021; Jurard St. Hillaire was

 held in MCB on or about June 1, 2020; Kevon Yarde-Providence was held in BCB on or about

 July 28, 2021; Sidney Louis was held in BCB on or about April 10, 2021; Troy Daniels was held

 in BCB in August or September 2020 (arrest # K20625444); Ren Jeffrey was held in BCB on or

 about March 11, 2021; Hensworth Edwards was held in BCB on or about April 10, 2021;

 Pedersin Pelissier was held in BCB on or about February 19, 2021; Christian Batista was held in

 BCB on or about October 10, 2020; Gregory Maugeri was held in BCB on or about March 20,

 2021; Paul Simpson was held in Bronx Central Booking (“BXCB”) on or about October 9, 2020,

 and in QCB on or about March 15, 2021; William Gorman was held in BCB on or about August

 1, 2021; Rousz DeLuca was held in MCB on or about May 30, 2020; and Jose Roman was held

 in MCB on or about October 27, 2021.

 B. The Conditions Regarding the Lack of Protections Against Covid-19

                35. In the City’s Central Booking facilities, the defendants have a policy, practice

 or custom of not providing detainees with masks; not requiring detainees who entered with their

 own masks to wear them correctly; holding detainees in overcrowded or crowded conditions

 preventing them from being able to socially distance; not enforcing the requirement that staff

 wear masks; not sanitizing the cells or providing detainees with the ability to wash their hands;

 not taking the temperatures of detainees during admission; not asking new admissions if they

 have Covid-19 symptoms or recently were exposed to the virus; not administering rapid Covid-

 19 tests to those who may have the virus; and not isolating detainees with the virus from other

 detainees. Further, as stated above, a spokesperson for the municipal agency DCAS recently



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 reported to the news media that they tested the air filtration systems in the courts and cell areas,

 in response to complaints from public defender unions, and rated them as “poor.”

                 36. The defendants did not follow any of the established guidance on how jails

 and correctional institutions should mitigate the risks of transmitting Covid-19. The Center for

 Disease Control issued “Interim Guidance on Management of Coronavirus Disease 2019

 (COVID-19) in Correctional and Detention Facilities.” This guidance emphasizes the need for:

 (a) cleaning and disinfecting shared areas and equipment several times daily with soap and hot

 water; (b) provision of free hygiene products such as soap and tissues, as well as alcohol-based

 hand sanitizer, if possible; (c) social distancing; (d) constant use of personal protective

 equipment by staff and inmates; (e) creation of a plan to ensure COVID-19 evaluation and

 testing; (f) medical isolation of confirmed and suspected cases; (g) identifying and quarantining

 of persons in contact with those confirmed and suspected cases; and (h) special protection for at-

 risk individuals. See Interim Guidance on Management of Coronavirus Disease 2019 (COVID-

 19) in Correctional and Detention Facilities, CDC, 2 (last updated Mar. 23, 2020). 5

                 37. None of the above is being followed by defendants.

                 38. A World Health Organization report on COVID-19 prevention in detention

 facilities recommends that “physical distancing should be observed”; “wall-mounted liquid soap

 dispensers, paper towels and foot-operated pedal bins should be made available”; medical masks

 should be provided and not be reused; surfaces should be regularly disinfected; and appropriate

 action should be taken for confirmed cases, “including transfer to specialist facilities for




 5
     https://www.cdc.gov/coronavirus/2019-ncov/downloads/guidance-correctional-detention.pdf.

                                                    14
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 respiratory isolation.” Preparedness, Prevention, and Control of COVID-19 in Prisons and Other

 Places of Detention, WHO Regional Office for Europe 1, 9, 19-23 (Mar. 15, 2020). 6

                39. None of the above is being followed by defendants.

                40. Defendants have failed to follow standard Covid-19 safety protocol even

 though the local federal courts have recognized the dangers of Covid-19 in the jail and prison

 environment. On March 20, 2020, the Second Circuit acknowledged the “grave and enduring”

 risk posed by COVID in the correctional context. Fed. Defs. of New York Inc.v. Fed. Bureau of

 Prisons, 954 F.3d 118, 135 (2d Cir. 2020); see also United States v. Skelos, 15-CR-317 (KMW),

 2020 U.S. Dist. LEXIS 64639, at *3 (S.D.N.Y. Apr. 12, 2020) (“Jails and prisons are powder

 kegs for infection.”); United States v. Mongelli, No. 02-CR-307 (NGG), 2020 U.S. Dist. LEXIS

 146478, at *7 (E.D.N.Y. Aug. 14, 2020) (“As this court has previously noted, the COVID-19

 pandemic poses a serious health risk to this country's prison populations”) (citing United States

 v. Donato, Nos. 03-CR-929-9, 05-CR-60-10 (NGG), 2020 U.S. Dist. LEXIS 118061, 2020 WL

 3642854, at *2 (E.D.N.Y. July 6, 2020) and United States v. Porges, No. 17-CR-431 (NGG),

 2020 U.S. Dist. LEXIS 113164, 2020 WL 350415, at *2 (E.D.N.Y. June 29, 2020)); United

 States v. Williams, 16-CR-526 (LGS), 2020 U.S. Dist. LEXIS 224698, at *4 (S.D.N.Y. Dec. 1,

 2020) (“Courts have also recognized that individuals in confinement settings may be at a

 ‘heightened risk of contracting COVID-19.’”) (citations omitted).

                41. Specific to the City of New York, the Brennan Center for Justice first

 reported in 2020:


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  http://www.euro.who.int/__data/assets/pdf_file/0019/434026/Preparedness-prevention-and
 control- of-COVID-19-in-prisons.pdf.



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                  On March 8, a report from the Board of Corrections revealed that
                  conditions in New York City jails have not improved in the year
                  since the pandemic began. The report showed that the jails do not
                  have comprehensive distancing measures and mask mandates in
                  place, despite research over the past year about how the virus
                  spreads.

                  As of March 10, there were over 5,500 people being held in New
                  York City jails, a higher population than before the pandemic
                  started. Doctors are concerned that the increase in the number of
                  people coupled with unsanitary conditions and a lack of social
                  distancing and masking in jails could lead to another major outbreak
                  in the jails. 7

 C. The Conditions in the City of New York’s Central Booking Facilities are a Breeding
    Ground and a Superspreader Event for Covid-19

              42. The inhumane, filthy and unhygienic conditions described below, which were

 listed by the Second Circuit in Darnell, provide a breeding ground and are a super-spreader event

 for the transmission of Covid-19. In addition, some of the conditions lower the immunity of the

 detainees. The conditions are also unconstitutional without regard to Covid-19.

              43. Overcrowding: Plaintiffs and the Class were packed into overcrowded or

 crowded cells. Because the cells were so full, there was often only space to stand for hours at a

 time. When a space opened up, the Plaintiffs and the Class could sit or lie down on the filthy,

 hard ground. While some of the cells contained hard benches, there was not nearly enough

 bench space to accommodate the numerous occupants. These conditions increase the chances of

 spreading Covid-19.




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     https://www.brennancenter.org/our-work/research-reports/reducing-jail-and-prison-
     populations-during-covid-19-pandemic#.YSjQbVNXfao.gmail.




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            44. Unsanitary Toilets: Each cell contained one exposed toilet that lacked a seat,

 lid, or sufficient privacy partitions to conceal the user from his or her fellow detainees. The

 toilet rim and bowl, along with the surrounding floor and walls, were often covered with some

 combination of feces, vomit, urine and other excrement. The toilets were frequently clogged and

 would overflow. The smell was horrific and overbearing. Toilet paper was usually not provided

 to detainees; even upon request, the officers chose instead to engage in personal conversations

 with each other, play on their cell phones, and ignore this and every other type of reasonable

 request. Plaintiffs and the Class who had no choice but to use the toilets were exposed to

 bacteria and Covid-19.

            45. Garbage and No Sanitizing and Sanitation: The cells had garbage scattered

 over the ground as well as urine, feces and other excrement splattered in sections of the floor.

 Because there were no trash cans in the cells, detainees were expected to put their garbage on the

 floor. The overwhelming majority of Plaintiffs did not observe anyone clean or sanitize the cells

 when they were held in the facility and the one or two that observed a cleaning saw that it was

 quick, superficial and inadequate. This garbage and the lack of sanitizing and cleaning exposed

 the Plaintiffs and the Class to bacteria and Covid-19.

                46. Infestation: Most of the Plaintiffs and Class members were held in cells

 which were infested with cockroaches, flies and other insects. Some of the Plaintiffs observed

 rodents in the cells. Scientists and medical professionals are researching whether the virus may

 be transmitted by these creatures.

                47. Lack of Toiletries and Other Hygienic Items: Plaintiffs and the Class were

 not provided with basic toiletries, such as face masks, soap, tissues, hand wipes, hand sanitizer,

 toothbrushes or toothpaste. Moreover, as stated, detainees were denied toilet paper. Other types

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 of hygienic items were simply not provided. In fact, toiletries and hygienic items have never

 been provided.

                  48. Inadequate Nutrition and Water: The food and water provisions were

 nutritionally inadequate. Plaintiffs and the Class were not provided with fresh, clean drinking

 water, and for most of the Plaintiffs and Class members, the only water available was from a

 dirty sink adjacent and attached to a filthy toilet. Adequate food was not provided. If

 sandwiches were offered, they were moldy, rotten, stale, or otherwise inedible. Some of the

 Plaintiffs and Class members were given a small box of cereal, but were not given plastic

 utensils or a bowl in which to eat the cereal. Some of the Plaintiffs and Class members were

 offered a small carton of milk, instead of water, but were unable to drink it because it was

 spoiled or beyond the expiration date. Even though the Plaintiffs and the Class were hungry and

 dehydrated, many feared consuming the inedible milk and food out of fear that it would cause

 them to become sick and force them to utilize the horrid toilets. Not being provided with

 essential food and water lowers one’s immunity.

                  49. Extreme Temperatures and Poor Ventilation: Most of the Plaintiffs and

 Class members were subjected to extremely cold or hot temperatures. Moreover, the cells lacked

 ventilation, which exacerbated the horrific odors caused by the toilets, the overcrowding and the

 detainees who were not given the opportunity to wash themselves. Some officers have fans

 blowing on them, but not on the detainees. As stated earlier, the City agency DCAS inspected

 the air filtration systems and rated them as “poor.”

                  50. Sleep Deprivation: After being arrested and held in a NYPD police precinct

 for hours, Plaintiffs and the Class were held overnight or for a substantial number of hours in

 Central Booking and suffered sleep deprivation because they were not provided with any

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 sleeping provisions, such as mats, beds, cots, pillows or blankets. Moreover, for most people, it

 is impossible to sleep in the environment of a Central Booking cell. Some of the Plaintiffs and

 Class members were so desperate that they attempted to sleep on the filthy, hard floor, or on one

 of the hard benches in the cells. Even if a detainee chose to disregard the filth, there was

 generally no room on the floor to lie down due to the overcrowding. Exhaustion is well-known

 to lower a person’s immunity.

                 51. Crime: Plaintiffs and the Class were held in cells which were for the most part

 unsupervised and where officers were deliberately indifferent to various crimes, violations and

 infractions, such as smoking marijuana and tobacco, the smoke of which may contain virus

 particles.

 D. Municipal and Supervisory Liability

                 52. The City of New York and the municipal officials and employees listed in the

 caption, as well as others not yet identified, were responsible for the conditions of the City’s

 Central Booking facilities when Plaintiffs and the Class were held in the facilities.

                 53. The individual NYPD defendants were aware of the unconstitutional conditions

 of confinement that existed when Plaintiffs and the Class were held in the City’s Central Booking

 facilities from personally observing the conditions, from discussions with, and reports from,

 subordinates and other municipal officials and employees, from documents concerning the

 conditions, from letters and complaints from detainees and City employees, and from lawsuits.

                 54. Many of the individual defendants have been inside and have walked

 through, visited and/or toured the City’s Central Booking facilities as part of their duties and

 responsibilities.



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                55. Some of the individual defendants were responsible for setting the final

 policies on the operation of the City’s Central Booking facilities when Plaintiffs and the Class

 were held in the facilities The actions of these final policymakers may be imputed to the City.

                56. The City and the individual defendants failed to implement adequate remedial

 measures to address the unlawful conditions in the City’s Central Booking facilities when

 Plaintiffs and the Class were held in the facilities and tacitly authorized the conditions.

                57. The City of New York, as an entity, had actual and/or constructive notice of

 the unlawful conditions that existed in its Central Booking facilities when Plaintiffs and the Class

 were held in the facilities through the observations of its high-level officials, including

 policymakers, from reports from municipal officials and employees, from documents, letters and

 complaints from detainees and City employees, and from lawsuits.

                58. The unlawful conditions described herein have been in existence for decades

 and constitute a persistent, well-settled, and pervasive practice or custom that the City of New

 York and its high-level officials, including final policymakers, have allowed to exist, despite the

 injurious effects that the conditions have had on pre-arraignment detainees. Despite having both

 actual and constructive notice of the unlawful conditions, the City and high-level municipal

 officials, including final policymakers, failed to implement adequate remedial measures and

 tacitly authorized the conditions. This deliberate indifference has crossed over to failing to

 protect detainees from contracting Covid-19.

                59. The City and high-level municipal officials, including final policymakers,

 have exhibited deliberate indifference to the unlawful conditions that have existed in the City’s

 Central Booking facilities when Plaintiffs and the Class were held in the facility by failing to

 train municipal employees, contractors and agents on how to maintain safe and humane

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 conditions in the facility, by failing to retrain, discipline and/or terminate those who contributed

 to the deprivations; and by not allowing non-law enforcement personnel to enter and sanitize the

 cells. Rather than take appropriate remedial action, the City and high-level municipal officials,

 including policymakers, knowingly acquiesced in the unlawful behavior of their subordinates,

 contractors and agents.

                60. The final policymakers who set policy regarding the conditions in the City’s

 Central Booking facilities include Mayor Bill de Blasio; Marcos Gonzalez Solas, Director of the

 Mayor’s Office of Criminal Justice; Dermot Shea, Commissioner of the NYPD; Assistant Chief

 Donna Jones, Commanding Officer of the NYPD Criminal Justice Bureau, which oversees

 Central Booking; Janine Gilbert, Assistant Deputy Commissioner of the NYPD, who has

 appeared in the news media on the specifics of the conditions and has defended them; and Lisette

 Camilo, Commissioner of DCAS. In two prior lawsuits concerning BCB, the New York City

 Law Department has represented that the commanding officers of each Central Booking facility

 is a final policymakers.

 D. Damages

                61. As a result of defendants’ actions, Plaintiffs and the Class suffered damages,

 including, but not limited to, emotional distress, mental anguish, fear and anxiety over

 contracting Covid, suffering death or serious illness, and spreading the virus to loved ones.

                                           FIRST CLAIM

                          § 1983; VIOLATION OF DUE PROCESS
                  (On Behalf of Plaintiffs and the Class Against all Defendants)

                62. Plaintiffs repeat the foregoing allegations as if set forth fully herein.




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                63. The Due Process Clause of the Fourteenth Amendment imposes a duty on

  municipalities and municipal officials and employees to take reasonable measures to ensure that

  pre-trial detainees are held under safe and humane conditions.

                64. Moreover, because pre-trial detainees have not been convicted of any crime

  and are presumed innocent, they may not be punished in any manner. Accordingly, punitive or

  punishing conditions of confinement may not be lawfully imposed on them.

                65. The defendants breached their duty under the Fourteenth Amendment and/or

  punished Plaintiffs and the Class by subjecting them to conditions that, either alone or in

  combination, posed an unreasonable risk to the health or physical and mental soundness of

  Plaintiffs and the Class.

                66. The defendants were deliberately indifferent to the unlawful conditions of the

  City’s Central Booking facilities as they knowingly imposed the conditions or recklessly failed

  to act with reasonable care to mitigate or lessen the risk that the conditions posed to the

  Plaintiffs and the Class, even though the defendants knew, or should have known, that the

  conditions posed an excessive risk to Plaintiffs and the Class’s health or safety.

                67. The unconstitutional conditions that existed in the City’s Central Booking

  facilities when Plaintiffs and the Class were held in the facility were a policy, practice and/or

  custom of the City of New York.

                68. Defendants’ conduct caused Plaintiffs and the Class to suffer various personal

  injuries, including the injuries described herein.

                69. As a result of the foregoing, Plaintiffs and the Class are entitled to injunctive

  relief and compensatory and punitive damages in an amount to be determined at trial.



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                                          SECOND CLAIM

                              § 1983; FAILURE TO INTERVENE
                 (On Behalf of Plaintiffs and the Class Against the Individual Defendants)

                 70. Plaintiffs repeat the foregoing allegations as if set forth fully herein..

                 71. The individual Defendants, while acting under color of state law, had a

 reasonable opportunity to prevent the violations of the rights of Plaintiffs and the Class under the

 Fourteenth Amendments, but they failed to fulfill their constitutional obligation to intervene and

 address the unlawful conditions that existed in the City’s Central Booking facilities when

 Plaintiffs and the Class were held in the facilities.

                 72. Defendants’ conduct caused Plaintiffs and the Class to suffer various personal

 injuries, including the injuries described herein.

                 73. As a result of the foregoing, Plaintiffs and the Class are entitled to injunctive

 relief and compensatory and punitive damages in an amount to be determined at trial.

                                           THIRD CLAIM

                  NEW YORK STATE CONSTITUTION & COMMON LAW
                   (On Behalf of Plaintiffs and the Class Against all Defendants)

                 74. Plaintiffs repeat the foregoing allegations as if set forth fully herein.

                 75. The foregoing conduct violates the New York State Constitution and New

 York common law.

                 76. Because this action is brought in the public interest and to vindicate the rights

 of others, New York law does not require a notice of claim as a condition precedent to asserting

 claims against a municipality under state law.

                 77. The defendants owed a duty of due care to the Plaintiffs and the Class and

 breached that duty.

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                78. The individual defendants were employees and agents of the City of New

 York and were at all relevant times acting within the scope of their employment. Thus, the City

 is vicariously liable for their actions under the doctrine of respondeat superior.

                79. As a result of the foregoing, Plaintiffs and the Class are entitled to injunctive

 relief and compensatory and punitive damages in an amount to be determined at trial.

                WHEREFORE, Plaintiffs request the following relief jointly and severally against

 the Defendants:

                a.      An order certifying the Class;

                b.      a declaratory judgment that the conditions of confinement in the City’s

                        Central Booking facilities during the Class Period were unconstitutional;

                c.      An injunction requiring defendants to remedy the unconstitutional

                        conditions in the City of New York’s Central Booking facilities;

                d.      Compensatory damages in an amount to be determined by a jury;

                e.      Punitive damages in an amount to be determined by a jury;

                f.      Attorney’s fees and costs;

                g.      In addition to damages, bonuses to the class representatives for their time

                        and effort prosecuting this case; and

                h.      Such other and further relief as the Court may deem just and proper.

 DATED: November 3, 2021

                                               /s/ Richard Cardinale
                                               ______________________________
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